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 2
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 3   CR-S-09-380 WBS
     Fax (916) 447-0931
 4
     Attorney for Defendant
 5
     EMILIANO VERA-GIL
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                       )       No. CR-S-09-380 WBS
                                                     )
10
                                                     )
            Plaintiff,                               )       STIPULATION AND (PROPOSED) ORDER
11
                                                     )       CONTINUING STATUS CONFERNCE
     v.                                              )
12
                                                     )       Judge: Hon. William B. Shubb
     URIEL OCHOA-ESPINDOLA et al.,                   )
13
                                                     )
                                                     )
14          Defendants.                              )
                                                     )
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                                                     )
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                    IT IS HEREBY stipulated between the United States of America through its
19
     undersigned counsel, Michael M. Beckwith, Assistant United States Attorney, together with
20
     counsel for defendant Uriel Ochoa-Espindola, Preciliano Martinez, Esq., counsel for defendant
21
     Jose Sergio Espindola, Mark J. Rosenblum, Esq., counsel for defendant Valentin Ramirez-
22
     Cardinez, Robert L. Forkner, Esq., counsel for defendant Rafael Arreola-Sahagun, Dina L.
23
     Santos, Esq., counsel for defendant Emiliano Vera-Gil, John R. Manning, Esq., counsel for
24
     defendant Jose Manuel Vera-Gil, Danny D. Brace, Esq., and counsel for defendant Luis Miguel-
25

26
     Rodrigues, Dan F. Koukol, Esq., that the status conference presently set for October 25, 2010 be

27
     continued to November 15, 2010, at 8:30 a.m., thus vacating the presently set status

28   conference. Counsel for the parties agree that this is an appropriate exclusion of time within the



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 1   meaning of Title 18, United States Code § 3161(h) (7) (B) (ii) and (iv) (continuity of counsel/
 2   reasonable time for effective preparation) and Local Code T4, and agree to exclude time from the
 3   date of the filing of the order until the date of the status conference November 15, 2010.
 4
                    The parties are requesting more time to continue ongoing plea negotiations. Each
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     defendant will need time to consider any plea offer he or she may receive. Additionally, counsel
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     for each defendant needs more time to review the discovery in this case, discuss that discovery
 7
     with their respective clients, consider evidence that may affect the disposition of this case, and
 8
     discuss with their clients how to proceed. The parties stipulate and agree that the interests of
 9
     justice served by granting this continuance outweigh the best interests of the public and the
10
     defendants in a speedy trial. 18 U.S.C. § 3161 (h) (7) (A).
11
     IT IS SO STIPULATED
12
     Dated: October 20, 2010                               /s/ John R. Manning for
13
                                                           PRECILIANO MARTINEZ
14                                                         Attorney for Defendant
                                                           Uriel Ochoa-Espindola
15
     Dated: October 20, 2010                               /s/ John R. Manning for
16                                                         MARK ROSENBLUM
                                                           Attorney for Defendant
17
                                                           Jose Sergio Espindola
18   Dated: October 20, 2010                               /s/ John R. Manning for
19                                                         ROBERT FORKNER
                                                           Attorney for Defendant
20                                                         Valentin Ramirez-Cardinez
21   Dated: October 20, 2010                               /s/ John R. Manning for
                                                           DINA L. SANTOS
22
                                                           Attorney for Defendant
23                                                         Rafael Arreola-Sahagun

24   Dated: October 20, 2010                               /s/ John R. Manning
                                                           JOHN R. MANNING
25                                                         Attorney for Defendant
                                                           Emiliano Vera-Gil
26
     Dated: October 20, 2010                               /s/ John R. Manning for
27
                                                           DANNY D. BRACE, JR.
28                                                         Attorney for Defendant
                                                           Jose Manuel Vera-Gil

                                                       2
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 1
     Dated: October 20, 2010                   /s/ John R. Manning for
 2                                             DAN KOUKOL
                                               Attorney for Defendant
 3                                             Luis Miguel Orrutia-Rodrigues
 4
     Dated: October 20, 2010                   Benjamin B. Wagner
 5                                             United States Attorney

 6

 7
                                               by: /s/ John R. Manning for
                                               MICHAEL M. BECKWITH
 8                                             Assistant United States Attorney
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 9
     UNITED STATES OF AMERICA,                        ) No. CR-S-09-380 WBS
                                                      )
10
                                                      )
            Plaintiff,                                ) ORDER TO
11
                                                      ) CONTINUE STATUS CONFERNCE
     v.                                               )
12
                                                      )
     URIEL OCHOA-ESPINDOLA et al.,                    )
13
                                                      )
                                                      )
14          Defendants.                               )
                                                      )
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                                                      )
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            GOOD CAUSE APPEARING, it is hereby ordered that the October 25, 2010 status
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     conference be continued to November 15, 2010 at 8:30 a.m. I find that the ends of justice
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     warrant an exclusion of time and that the defendant’s need for continuity of counsel and
21
     reasonable time for effective preparation exceeds the public interest in a trial within 70 days.
22
     THEREFOR IT IS FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. § 3161
23
     (h) (7) (B) (iv) and Local Code T4 from the date of this order to November 15, 2010.
24
     Dated: October 21, 2010
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